                                                UNITED STATES DISTRICT COURT
                                               WESTERN DISTRICT OF WASHINGTON
                                                    OFFICE OF THE CLERK



RAVI SUBRAMANIAN
CLERK OF COURT
700 STEWART ST
SEATTLE, WA 98101


Re: LI ET AL V. AMAZON.COM SERVICES LLC                                              2:23−cv−01975−JHC

Dear Counsel:

The above referenced case has been transferred to the Western District of Washington from California
Northern District, San Francisco on December 19, 2023 as cause number 2:23−cv−01975−JHC. This case has
been assigned to the Honorable John H. Chun.

Pursuant to LCR 83.1(d)(1)*, you are required to associate local counsel in this district. After completing the
Application for Leave to Appear Pro Hac Vice found on the Court's website, please contact local counsel so
that they can file it electronically on your behalf and pay the required $249.00 fee. Once your application has
been filed by local counsel, please review the Pro Hac Vice instructions on the Court's website and complete
all additional requirements.

Federal government attorneys who need to practice in this district must apply for conditional admission if they
are not already admitted to this Court. Please review the Conditional Admission requirements and procedure
for admission on the Court's website. After you have been conditionally admitted to practice before this Court,
please promptly file a Notice of Appearance in this case pursuant to LCR 83.2.

If you do not intend to appear in this case, please call the Seattle Case Administrator's Team at
206−370−8450.

If a motion is pending and undecided at the time of transfer, the moving party must refile the motion in this
Court and note it for consideration on the Court's calendar in accordance with LCR 7(d).

After this letter, you will not receive further notification of activity in this case until the local attorney
files an Application for Leave to Appear Pro Hac Vice on your behalf and all other requirements have
been met (or until you have filed a Notice of Appearance, for federal government attorneys not already
admitted to this Court).

Thank you for your cooperation.

Sincerely,



Ravi Subramanian, Clerk of Court

 s/Rachel T Evans
 Deputy Clerk



*Admission Pro Hac Vice. Any member in good standing of the bar of any court of the United States, or of the highest court of any state, or of any organized
territory of the United States, and who neither resides nor maintains an office for the practice of law in the Western District of Washington normally will be
permitted upon application and upon a showing of particular need to appear and participate in a particular case pro hac vice. The party must also be
represented by local counsel, who shall fulfill the responsibilities set forth below. Attorneys who are admitted to the bar of this Court but reside outside the
district need not associate with local counsel.

An application for leave to appear pro hac vice shall be promptly filed with the clerk and shall set forth: (1) the name and address of the applicant's law firm;
(2) the basis upon which "particular need" is claimed; (3) a statement that the applicant understands that he or she is charged with knowing and complying
with all applicable local rules; (4) a statement that the applicant has not been disbarred or formally censured by a court of record or by a state bar association;
and (5) a statement that there are no pending disciplinary proceedings against the applicant. This application, which can be downloaded from the Court's
website, must be filed electronically by local counsel. Applications filed under this rule will be approved or disapproved by the clerk. Per LCR 83.1(d)(1)
